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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 17-20608-CIV-JAL

   ARWIN NICOLAS ZAPATA CARRERO      )
   and all others similarly situated under 29
                                     )
   U.S.C. 216(b),                    )
                                     )
                 Plaintiffs,         )
        vs.                          )
                                     )
   SANABI INVESTMENTS LLC d/b/a      )
   OSCAR’S MOVING & STORAGE,         )
   SAADY BIJANI a/k/a SANDY BIJANI,  )
   HANIN PRIETO,                     )
                                     )
                Defendants.          )
   __________________________________)

                 PROPOSED JURY INSTRUCTIONS AND VERDICT FORM

          The Parties, Plaintiff Arwin Nicolas Zapata Carrero and Defendant Hanin Prieto,1

   through their respective undersigned counsel, pursuant to Local Rule 16.1 of the

   Southern District of Florida and Federal Rule of Civil Procedure 51, hereby submit their

   Proposed Jury Instructions and Verdict Form.        Any objections by Defendant’s to

   Plaintiff’s proposed instructions are shown in italics. Any objections by Plaintiff to

   Defendant’s proposed instructions are underlined.

                                      Dated: July 2, 2019




   1
    Plaintiff’s claims against Defendant Sanabi Investments LLC d/b/a Oscar’s Moving &
   Storage and Defendant Saady Bijani a/k/a Sandy Bijani have been stayed by this Court
   pending their bankruptcy filings. (See ECF No. 114 & 127).
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                      DISPUTED PROPOSED JURY INSTRUCTION NO. 1

                       PRELIMINARY INSTRUCTIONS BEFORE TRIAL

   1.1 General Preliminary Instructions

   Members of the Jury:

          Now that you’ve been sworn, I need to explain some basic principles about a civil

   trial and your duty as jurors. These are preliminary instructions. I’ll give you more

   detailed instructions at the end of the trial.

   The jury’s duty:

          It’s your duty to listen to the evidence, decide what happened, and apply the law

   to the facts. It’s my job to provide you with the law you must apply – and you must follow

   the law even if you disagree with it.

   What is evidence:

          You must decide the case on only the evidence presented in the courtroom.

   Evidence comes in many forms. It can be testimony about what someone saw, heard,

   or smelled. It can be an exhibit or a photograph. It can be someone’s opinion.

          Some evidence may prove a fact indirectly. Let’s say a witness saw wet grass

   outside and people walking into the courthouse carrying wet umbrellas. This may be

   indirect evidence that it rained, even though the witness didn’t personally see it rain.

   Indirect evidence like this is also called “circumstantial evidence” – simply a chain of

   circumstances that likely proves a fact.

          As far as the law is concerned, it makes no difference whether evidence is direct

   or indirect. You may choose to believe or disbelieve either kind. Your job is to give each

   piece of evidence whatever weight you think it deserves.




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   What is not evidence:

         During the trial, you’ll hear certain things that are not evidence and you must not

   consider them.

         First, the lawyers’ statements and arguments aren’t evidence. In their opening

   statements and closing arguments, the lawyers will discuss the case. Their remarks

   may help you follow each side’s arguments and presentation of evidence. But the

   remarks themselves aren’t evidence and shouldn’t play a role in your deliberations.

         Second, the lawyers’ questions and objections aren’t evidence. Only the

   witnesses’ answers are evidence. Don’t decide that something is true just because a

   lawyer’s question suggests that it is. For example, a lawyer may ask a witness, “You

   saw Mr. Jones hit his sister, didn’t you?” That question is not evidence of what the

   witness saw or what Mr. Jones did – unless the witness agrees with it.

         There are rules of evidence that control what the court can receive into evidence.

   When a lawyer asks a witness a question or presents an exhibit, the opposing lawyer

   may object if [he/she] thinks the rules of evidence don’t permit it. If I overrule the

   objection, then the witness may answer the question or the court may receive the

   exhibit. If I sustain the objection, then the witness cannot answer the question, and the

   court cannot receive the exhibit. When I sustain an objection to a question, you must

   ignore the question and not guess what the answer might have been.

         Sometimes I may disallow evidence – this is also called “striking” evidence – and

   order you to disregard or ignore it. That means that you must not consider that evidence

   when you are deciding the case.




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          I may allow some evidence for only a limited purpose. When I instruct you that I

   have admitted an item of evidence for a limited purpose, you must consider it for only

   that purpose and no other.

   Credibility of witnesses:

          To reach a verdict, you may have to decide which testimony to believe and which

   testimony not to believe. You may believe everything a witness says, part of it, or none

   of it. When considering a witness’s testimony, you may take into account:

          · the witness’s opportunity and ability to see, hear, or know the things the
             witness is testifying about;

          · the witness’s memory;

          · the witness’s manner while testifying;

          · any interest the witness has in the outcome of the case;

          · any bias or prejudice the witness may have;

          · any other evidence that contradicts the witness’s testimony;

          · the reasonableness of the witness’s testimony in light of all the evidence;
             and

          · any other factors affecting believability.

          At the end of the trial, I’ll give you additional guidelines for determining a

   witness’s credibility.

   Description of the case:

          This is a civil case. To help you follow the evidence, I’ll summarize the parties’

   positions. The Plaintiff, Arwin Nicolas Zapata Carrero, claims that the Defendant, Hanin

   Prieto, did not pay his overtime at a time and a half rate as required by the Fair Labor

   Standards Act, which will be referred to through this case by its common acronym,

   FLSA. The Defendant, Hanin Prieto denies that they had a legal obligation to pay



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   overtime to Plaintiff Arwin Nicolas Zapata Carrero because they allege Arwin Nicolas

   Zapata Carrero never worked more than 40 hours a week, thus was never owed

   overtime. Defendant also claims that the individual Defendant was not Plaintiffs’ FLSA

   employer during the relevant time period.

          Defendant Hanin Prieto denies that he was Plaintiff Arwin Nicolas Zapata

   Carrero’s “employer” and thus had no duty to pay Plaintiff’s overtime wages during the

   relevant time period. Rather, Sanabi Investments LLC d/b/a Oscar’s Moving & Storage

   was Plaintiff Arwin Nicolas Zapata Carrero’s employer. Defendant Hanin Prieto also

   denies that Plaintiff Arwin Zapata Carrero worked more than 40 hours a week and thus

   was not owed overtime.

   Burden of proof:

          Plaintiff Arwin Nicolas Zapata Carrero has the burden of proving his case by what

   the law calls a “preponderance of the evidence.” That means Plaintiff Arwin Nicolas

   Zapata Carrero must prove that, in light of all the evidence, what he claims is more likely

   true than not. So, if you could put the evidence favoring Plaintiff Arwin Nicolas Zapata

   Carrero and the evidence favoring Defendant Hanin Prieto on opposite sides of

   balancing scales, Plaintiff Arwin Nicolas Zapata Carrero needs to make the scales tip to

   his side. If Plaintiff Arwin Nicolas Zapata Carrero fails to meet this burden, you must find

   in favor of Defendant Hanin Prieto.

          To decide whether any fact has been proved by a preponderance of the

   evidence, you may – unless I instruct you otherwise – consider the testimony of all

   witnesses, regardless of who called them, and all exhibits that the court allowed,

   regardless of who produced them. After considering all the evidence, if you decide a




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   claim or fact is more likely true than not, then the claim or fact has been proved by a

   preponderance of the evidence.

         On certain issues, called “affirmative defenses,” Defendant Hanin Prieto has the

   burden of proving the elements of a defense by a preponderance of the evidence. I’ll

   instruct you on the facts Defendant Hanin Prieto must prove for any affirmative defense.

   After considering all the evidence, if you decide that Defendant Hanin Prieto has

   successfully proven that the required facts are more likely true than not, the affirmative

   defense is proved.

   Conduct of the jury:

         While serving on the jury, you may not talk with anyone about anything related to

   the case. You may tell people that you’re a juror and give them information about when

   you must be in court. But you must not discuss anything about the case itself with

   anyone.

         You shouldn’t even talk about the case with each other until you begin your

   deliberations. You want to make sure you’ve heard everything – all the evidence, the

   lawyers’ closing arguments, and my instructions on the law – before you begin

   deliberating. You should keep an open mind until the end of the trial. Premature

   discussions may lead to a premature decision.

         In this age of technology, I want to emphasize that in addition to not talking face-

   to-face with anyone about the case, you must not communicate with anyone about the

   case by any other means. This includes e-mails, text messages, and the Internet,

   including social-networking websites such as Facebook, MySpace, and Twitter.




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          You also shouldn’t Google or search online or offline for any information about

   the case, the parties, or the law. Don’t read or listen to the news about this case, visit

   any places related to this case, or research any fact, issue, or law related to this case.

   The law forbids the jurors to talk with anyone else about the case and forbids anyone

   else to talk to the jurors about it. It’s very important that you understand why these rules

   exist and why they’re so important. You must base your decision only on the testimony

   and other evidence presented in the courtroom. It is not fair to the parties if you base

   your decision in any way on information you acquire outside the courtroom. For

   example, the law often uses words and phrases in special ways, so it’s important that

   any definitions you hear come only from me and not from any other source. Only you

   jurors can decide a verdict in this case. The law sees only you as fair, and only you

   have promised to be fair – no one else is so qualified.

   Taking notes:

          If you wish, you may take notes to help you remember what the witnesses said. If

   you do take notes, please don’t share them with anyone until you go to the jury room to

   decide the case. Don’t let note-taking distract you from carefully listening to and

   observing the witnesses. When you leave the courtroom, you should leave your notes

   hidden from view in the jury room.

          Whether or not you take notes, you should rely on your own memory of the

   testimony. Your notes are there only to help your memory. They’re not entitled to

   greater weight than your memory or impression about the testimony.

   Course of the trial:




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          Let’s walk through the trial. First, each side may make an opening statement, but

   they don’t have to. Remember, an opening statement isn’t evidence, and it’s not

   supposed to be argumentative; it’s just an outline of what that party intends to prove.

   Next, Plaintiff Arwin Nicolas Zapata Carrero will present his witnesses and ask them

   questions. After Plaintiff Arwin Nicolas Zapata Carrero questions the witness, Defendant

   Hanin Prieto may ask the witness questions – this is called “cross-examining” the

   witness. Then Defendant Hanin Prieto will present his witnesses, and Plaintiff Arwin

   Nicolas Zapata Carrero may cross-examine them. You should base your decision on all

   the evidence, regardless of which party presented it.

          After all the evidence is in, the parties’ lawyers will present their closing

   arguments to summarize and interpret the evidence for you, and then I’ll give you

   instructions on the law.

          You’ll then go to the jury room to deliberate.

          Authorities: Instruction 1.1, 11th Circuit Pattern Jury Instructions (Civil) 2019

   as modified.
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                  UNDISPUTED PROPOSED JURY INSTRUCTION NO. 2

   1.2 Burden of Proof – Clear and Convincing Evidence

         Sometimes a party has the burden of proving a claim or defense by clear and

   convincing evidence. This is a higher standard of proof than proof by a preponderance

   of the evidence. It means the evidence must persuade you that the claim or defense is

   highly probable or reasonably certain. The court will tell you when to apply this

   standard.

         Authorities: Instruction 1.2, 11th Circuit Pattern Jury Instructions (Civil).

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              UNDISPUTED JOINT PROPOSED JURY INSTRUCTION NO. 3

                         Official English Translation/Interpretation

         You may hear or see languages other than English during this trial.

         You must consider evidence provided through only the official court interpreters.

   It is important that all jurors consider the same evidence. So even if some of you know

   Spanish, which some of the witnesses in this case may speak, you must accept the

   English translation provided and disregard any different meaning.

         Authorities: Instruction 1.3, 11th Circuit Pattern Jury Instructions (Civil) 2019.

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                   UNDISPUTED PROPOSED JURY INSTRUCTION NO. 4

                                         Jury Questions

          During this trial, you may submit questions to a witness after the lawyers have

   finished their own questioning. Here is how the procedure works: After each witness has

   testified, and the lawyers have asked all of their questions, I’ll ask if any of you have

   questions. If you have a question, write it down and give it to the court staff.

          You may submit a question for a witness only to clarify an answer or to help you

   understand the evidence. Our experience with juror questions indicates that jurors rarely

   have more than a few questions for any one witness, and there may be no questions at

   all for some witnesses.

          If you submit a question, the court staff will give it to me and I’ll share your

   questions with the lawyers in the case. If the rules of evidence allow your question, one

   of the lawyers or I will read your question to the witness. I may modify the form or

   phrasing of a question so that it’s allowed under the evidence rules. Sometimes, I may

   not allow the questions to be read to the witness, either because the law does not allow

   it or because another witness is in a better position to answer the question. If I can’t

   allow the witness to answer a question, you must not draw any conclusions from that

   fact or speculate on what the answer might have been.

          Here are several important things to keep in mind about your questions for the

   witnesses:

             •   First, you must submit all questions in writing. Please don’t ask any
                 questions aloud.

             •   Second, the court can’t re-call witnesses to the stand for additional juror
                 questions. If you have a question for a particular witness, you must submit
                 it when I ask


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            •   Finally, because you should remain neutral and open-minded throughout
                the trial, you should phrase your questions in a way that doesn’t express
                an opinion about the case or a witness. You must keep an open mind until
                you’ve heard all the evidence, the closing arguments, and my final
                instructions on the law.

         Authorities: Instruction 1.4, 11th Circuit Pattern Jury Instructions (Civil) 2019.

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                  UNDISPUTED PROPOSED JURY INSTRUCTION NO. 5

                                         Stipulations

         Sometimes the parties have agreed that certain facts are true. This agreement is

   called a stipulation. You must treat these facts as proved for this case.

         Authorities: Instruction 2.1, 11th Circuit Pattern Jury Instructions (Civil) 2019.

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                    DISPUTED PROPOSED JURY INSTRUCTION NO. 6

                                      Use of Depositions

          A deposition is a witness’s sworn testimony that is taken before the trial. During a

   deposition, the witness is under oath and swears to tell the truth, and the lawyers for

   each party may ask questions. A court reporter is present and records the questions

   and answers.

          The deposition of [name of witness], taken on [date], [is about to be/has been]

   presented to you [by a video/by reading the transcript]. Deposition testimony is entitled

   to the same consideration as live testimony, and you must judge it in thesame way as if

   the witness was testifying in court.

          Do not place any significance on the behavior or tone of voice of any person

   reading the questions or answers.

          Authorities: Instruction 2.2, 11th Circuit Pattern Jury Instructions (Civil) 2019.




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                  UNDISPUTED PROPOSED JURY INSTRUCTION NO. 7

                                    Use of Interrogatories

         You may have heard answers that the parties gave in response to written

   questions the other side submitted to them. The questions are called interrogatories.

   Before the trial, one or both of the parties gave their answers to the interrogatories in

   writing while under oath.

         You must consider the parties’ answers to as though they gave the answers on

   the witness stand.

         Authorities: Instruction 2.6, 11th Circuit Pattern Jury Instructions (Civil) 2019, as

   modified.

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                    UNDISPUTED PROPOSED JURY INSTRUCTION NO. 8

                           COURT’S INSTRUCTIONS TO THE JURY

           Members of the jury:

           It’s my duty to instruct you on the rules of law that you must use in deciding this

   case.

           When I have finished, you will go to the jury room and begin your discussions,

   sometimes called deliberations.

           Authorities: Instruction 3.1, 11th Circuit Pattern Jury Instructions (Civil) 2019.

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                  UNDISPUTED PROPOSED JURY INSTRUCTION NO. 9

                          THE DUTY TO FOLLOW INSTRUCTIONS

                                 CORPORATION INVOLVED

         Your decision must be based only on the evidence presented here. You must

   not be influenced in any way by either sympathy for or prejudice against anyone.

         You must follow the law as I explain it - even if you do not agree with the law -

   and you must follow all of my instructions as a whole. You must not single out or

   disregard any of the instructions on the law.

         The fact that a corporation is involved as a party must not affect your decision in

   any way. A corporation and all other persons stand equal before the law and must be

   dealt with as equals in a court of justice. When a corporation is involved, of course, it

   may act only through people as its employees; and, in general, a corporation is

   responsible under the law for the acts and statements of its employees which are made

   within the scope of their duties as employees of the company.

         Authority:    Instruction 3.2 & 3.2.2 11th Circuit Pattern Jury Instruction (Civil

   Cases) 2019 (modified).

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                      UNDISPUTED PROPOSED INSTRUCTION NO. 10

            CONSIDERATION OF DIRECT AND CIRCUMSTANTIAL EVIDENCE;

                 ARGUMENT OF COUNSEL; COMMENTS BY THE COURT

          As I said before, you must consider only the evidence that I have admitted in the

   case. Evidence includes the testimony of witnesses and the exhibits admitted. But,

   anything the lawyers say is not evidence and isn’t binding on you.

          You shouldn’t assume from anything I’ve said that I have any opinion about any

   factual issue in this case. Except for my instructions to you on the law, you should

   disregard anything I may have said during the trial in arriving at your own decision about

   the facts.

          Your own recollection and interpretation of the evidence is what matters.

          In considering the evidence you may use reasoning and common sense to make

   deductions and reach conclusions. You shouldn’t be concerned about whether the

   evidence is direct or circumstantial.

          "Direct evidence" is the testimony of a person who asserts that he or she has

   actual knowledge of a fact, such as an eyewitness.

          "Circumstantial evidence" is proof of a chain of facts and circumstances that tend

   to prove or disprove a fact. There’s no legal difference in the weight you may give to

   either direct or circumstantial evidence.

          Authority: Instruction 3.3, 11th Circuit Pattern Jury Instructions (Civil) 2019.

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                     UNDISPUTED PROPOSED INSTRUCTION NO. 11

                               CREDIBILITY OF WITNESSES

         When I say you must consider all the evidence, I don’t mean that you must

   accept all the evidence as true or accurate. You should decide whether you believe

   what each witness had to say, and how important that testimony was. In making that

   decision you may believe or disbelieve any witness, in whole or in part. The number of

   witnesses testifying concerning a particular point doesn’t necessarily matter.

         To decide whether you believe any witness I suggest that you ask yourself a few

   questions:

                 •     Did the witness impress you as one who was telling the truth?
                 •     Did the witness have any particular reason not to tell the truth?
                 •     Did the witness have a personal interest in the outcome of the
                       case?
                 •     Did the witness seem to have a good memory?
                 •     Did the witness have the opportunity and ability to accurately
                       observe the things he or she testified about?
                 •     Did the witness appear to understand the questions clearly and
                       answer them directly?
                 •     Did the witness’s testimony differ from other testimony or other
                       evidence?
         Authorities: Instruction 3.4, 11th Circuit Pattern Jury Instructions (Civil) 2019.

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                       UNDISPUTED PROPOSED JURY INSTRUCTION NO. 12

                            IMPEACHMENT OF WITNESSES BECAUSE OF

                                     INCONSISTENT STATEMENTS

            You should also ask yourself whether there was evidence that a witness testified

   falsely about an important fact. And ask whether there was evidence that at some other

   time a witness said or did something, or didn’t say or do something, that was different

   from the testimony the witness gave during this trial.

            But keep in mind that a simple mistake doesn’t mean a witness wasn’t telling the

   truth as he or she remembers it. People naturally tend to forget some things or

   remember them inaccurately. So, if a witness misstated something, you must decide

   whether it was because of an innocent lapse in memory or an intentional deception. The

   significance of your decision may depend on whether the misstatement is about an

   important fact or about an unimportant detail.

            Authorities: Instruction 3.5.1, 11th Circuit Pattern Jury Instructions (Civil) 2019,

   3.5.1.

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                  UNDISPUTED PROPOSED JURY INSTRUCTION NO. 13

                 RESPONSIBILITY FOR PROOF – PLAINTIFF’S CLAIM[S]

                           PREPONDERANCE OF THE EVIDENCE

          In this case it is the responsibility of the Plaintiff to prove every essential part of

   his claim[s] by a “preponderance of the evidence.” This is sometimes called the "burden

   of proof" or the "burden of persuasion."

          A “preponderance of the evidence” simply means an amount of evidence that is

   enough to persuade you that Plaintiff’s claim is more likely true than not true.

          If the proof fails to establish any essential part of a claim or contention by a

   preponderance of the evidence, you should find against the Plaintiff.

          In deciding whether any fact has been proved by a preponderance of the

   evidence, you may consider the testimony of all of the witnesses, regardless of who

   may have called them, and all of the exhibits received in evidence, regardless of who

   may have produced them.

          If the proof fails to establish any essential part of Plaintiff’s claim by a

   preponderance of the evidence, you should find for the Defendants as to that claim.

          Authorities: Instruction 3.7.1, 11th Circuit Pattern Jury Instructions (Civil) 2019.

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                       DISPUTED PROPOSED JURY INSTRUCTION NO. 14

                     RESPONSIBILITY FOR PROOF – AFFIRMATIVE DEFENSES

                              PREPONDERANCE OF THE EVIDENCE

         In this case, the Defendant Hanin Prieto has asserted affirmative defenses.

   Even if Plaintiff Arwin Nicolas Zapata Carrero proves his claims by a preponderance of

   the evidence, the Defendant Hanin Prieto can prevail in this case if he proves an

   affirmative defense by a preponderance of the evidence.

         When more than one affirmative defense is involved, you should consider each

   one separately.

         I caution you that Defendant Hanin Prieto does not have to disprove Plaintiff

   Arwin Nicolas Zapata Carrero’s claim but if Defendant Hanin Prieto raise an affirmative

   defense, the only way he can prevail on that specific defense is if he proves that

   defense by a preponderance of the evidence.

         Authorities: Instruction 3.7.2, 11th Circuit Pattern Jury Instructions (Civil) 2019.


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                   DISPUTED PROPOSED JURY INSTRUCTION NO. 15

                                   EMPLOYER DEFINED

          Any person who acts indirectly in the interest an employer in relation to Arwin

   Nicolas Zapata Carrero for the relevant time period by paying Arwin Nicolas Zapata

   Carrero’s wages and/or directing Arwin Nicolas Zapata Carrero’s work is considered to

   be an employer under the Fair Labor Standards Act.

          Authorities: 29 U.S.C. 203 (d)

                                    JOINT EMPLOYERS

          It is not always clear whether the law considers someone an “employee,” and it is

   not always clear who the law considers someone’s “employer.” Some people, for

   example, perform services for others while remaining self-employed as independent

   contractors. Others are clearly employees. But it may not always be clear who is an

   employer of the employee. Sometimes an employee may have more than one employer

   at the same time.

          So, in this case, you must decide: Was Plaintiff Arwin Nicolas Zapata Carrero the

   employee of Sanabi Investments LLC d/b/a Oscar’s Moving & Storage as well as an

   employee of Defendant Hanin Prieto? You should answer this question in light of the

   economic realities of the entire relationship between the parties based on the evidence.

          Consider all the following factors to the extent you decide that each applies to

   this case:

      (a) the nature and degree of control over the employee and who exercises that
          control;

      (b) the degree of supervision, direct or indirect, over the employee’s work and who
          exercises that supervision;




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      (c) who exercises the power to determine the employee’s pay rate or method of
          payment;

      (d) who has the right, directly or indirectly, to hire, fire, or modify the employee’s
          employment conditions;

      (e) who is responsible for preparing the payroll and paying wages;

      (f) who made the investment in the equipment and facilities the employee uses;

      (g) who has the opportunity for profit and loss;

      (h) the employment’s permanence and exclusiveness;

      (i) the degree of skill the job requires;

      (j) the ownership of the property or facilities where the employee works; and

      (k) the performance of a specialty job within the production line
          integral to the business.

         Consideration of all the circumstances surrounding the work relationship is

   essential. No single factor is determinative. Nevertheless, the extent of the right to

   control the means and manner of the worker’s performance is the most important factor.

         Authorities: Instruction 4.25, 11th Circuit Pattern Jury Instructions (Civil) 2019;

   see also id. at 4.14, p. 6 (“For pattern instructions concerning issues of joint employers

   or independent contractors, please see Pattern Instructions 4.24 and 4.25.”).


                    GIVEN AS REQUESTED                 _________________________
                    GIVEN MODIFIED                     _________________________
                    REFUSED                            _________________________
                    WITHDRAWN                          _________________________




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                   DISPUTED PROPOSED JURY INSTRUCTION NO. 16

                  OPERATIONAL CONTROL BY A CORPORATE OFFICER

          Operational control by a Corporate Officer over a corporation’s covered

   enterprise makes both the owner and the corporation jointly and severally liable for

   overtime wages under the Fair Labor Standards Act. To have operational control is

   either to be involved in the day-to-day operation or have some direct responsibility for

   the supervision of the employee. The Control need not be continuous, it must be both

   substantial and related to the company's FLSA obligations. The fact that control was

   exercised only occasionally does not diminish the significance of its existence. You still

   must determine whether Hanin Prieto was Plaintiff’s employer as defined above in this

   instruction.

          Authorities: Dole v. Elliott Travel & Tours, Inc., 942 F.2d 962 (6th Cir. 1991).

   Lamonica v. Safe Hurricane Shutters, Inc., 711 F.3d 1299, 1313-14 (11th Cir. 2013)

          [Defendant disputes this proposed jury instruction as redundant and cumulative

   of the 11th Circuit Pattern Jury Instruction 4.25 for “Joint Employers” set forth above.

   Defendant further objects because the authorities cited by Plaintiff do not support his

   proposed instruction. First, Dole v. Elliott Travel & Tours, Inc., 942 F.2d 962 (6th Cir.

   1991) is not binding on this Court. Second, Lamonica v. Safe Hurricane Shutters, Inc.,

   711 F.3d 1299 (11th Cir. 2013) merely held that the jury had a legally sufficient basis to

   hold two of the corporate defendant’s directors/shareholders individually liable under the

   FLSA, because there was sufficient evidence to find that the director/shareholders

   “exercised control over ‘significant aspects of [the company’s] day-to-day functions,

   including compensation of employees or other matters in relation to an employee,”




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   which “combined with their substantial ownership interests,” suggests that they “ had

   sufficient control of the company's financial affairs to ‘cause the corporation to

   compensate (or not to compensate) employees in accordance with the FLSA.’” Id. at

   1314-15 (emphasis added; citations omitted). In stark contrast, Defendant Hanin Prieto

   was neither a shareholder nor a director of the moving company that actually employed

   Plaintiff. At most, Mr. Prieto was the moving company’s foreman/laborer (a position

   which Plaintiff himself used to hold), who made approximately 50 cents more per hour

   than the rest of the crew.

                        GIVEN AS REQUESTED _________________________
                        GIVEN MODIFIED     _________________________
                        REFUSED            _____ ___________________
                        WITHDRAWN           ________________________




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                   UNDISPUTED PROPOSED JURY INSTRUCTION NO. 17

        DUTY TO DELIBERATE WHEN ONLY THE PLAINTIFF CLAIMS DAMAGES

            Of course, the fact that I have given you instructions concerning the issue of

   Plaintiff’s damages should not be interpreted in any way as an indication that I believe

   that the Plaintiff should, or should not, prevail in this case.

              Your verdict must be unanimous -- in other words, you must all agree. Your

   deliberations are secret, and you’ll never have to explain your verdict to anyone.

              Each of you must decide the case for yourself, but only after fully considering

   the evidence with the other jurors. So you must discuss the case with one another and

   try to reach an agreement. While you’re discussing the case, don’t hesitate to

   reexamine your own opinion and change your mind if you become convinced that you

   were wrong. But don’t give up your honest beliefs just because others think differently or

   because you simply want to get the case over with. Remember that, in a very real way,

   you’re judges -- judges of the facts. Your only interest is to seek the truth from the

   evidence in the case.

              Authorities: Instruction 3.8.1, 11th Circuit Pattern Jury Instructions (Civil) 2019.

                         GIVEN AS REQUESTED _________________________
                         GIVEN MODIFIED     _________________________
                         REFUSED            _____ ___________________
                         WITHDRAWN           ________________________




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                   DISPUTED PROPOSED JURY INSTRUCTION NO. 18

                               FAIR LABOR STANDARDS ACT

             In this case, Plaintiff Arwin Nicolas Zapata Carrero’s claims that Defendant

   Hanin Prieto, did not pay him the overtime wage pay required by the federal Fair Labor

   Standards Act, also known as the “FLSA.”         To succeed on his claim against the

   Defendant Hanin Prieto, Plaintiff Arwin Nicolas Zapata Carrero’s must prove each of the

   following facts by a preponderance of the evidence:

   First:    That the Plaintiff was employed by the Defendants during the time period

             involved;

   Second: In Plaintiff’s work for the Defendants, the Plaintiff was either engaged in

            commerce or in the production of goods or materials for commerce or were

            employed by an enterprise engaged in commerce or the production of goods

            or materials for commerce and that the Defendants had annual gross sales of

            at least $500,000 for the relevant time period; and

   Third:   That the Defendants failed to pay the Plaintiff the overtime pay for all hours

            worked by the Plaintiff in excess of 40 hours in one or more workweeks as

            required by law.

            For the first element, whether Plaintiff was employed by the Defendant during

   the time period involved, Hanin Prieto disputes that he was one of Plaintiff’s employers

   and, as such, you will need to decide whether Hanin Prieto was one of Plaintiff’s

   employers. For the second element, Defendants have stipulated that the they had

   annual gross sales of at least $500,000 for the relevant time period. Therefore, as this is

   not disputed, you should consider the monetary threshold requirement to be


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   established.   Further Defendants do not dispute that in Plaintiff’s work for the

   Defendants that the Plaintiff was either engaged in commerce or in the production of

   goods or materials for commerce or was employed by an enterprise engaged in

   commerce or the production of goods or materials for commerce.

             The Parties dispute the third element as the Defendant claims he did not fail

   to pay the Plaintiffs the overtime pay required by law that he seeks.

   First:    Plaintiff Arwin Nicolas Zapata Carrero was an employee of Defendant Hanin

             Prieto and was engaged in commerce or in the production of goods for

             commerce or was employed by an enterprise engaged in commerce or in the

             production of goods for commerce; and

   Second: Defendant Hanin Prieto failed to pay Plaintiff Arwin Nicolas Zapata Carrero

             the overtime pay requirement by law.

             In the verdict form that I will explain in a moment, you will be asked to answer

   questions about the relevant factual issues.

             For the first element, Plaintiff Arwin Nicolas Zapata Carrero must prove by a

   preponderance of the evidence that he was an employee of Defendant Hanin Prieto and

   engaged in commerce or in the production of goods for commerce or employed by an

   enterprise engaged in commerce or in the production of goods for commerce.

             The term “commerce” has a very broad meaning and includes any trade,

   transportation, transmission, or communication between any place within a state and

   any place outside that state. Plaintiff Arwin Nicolas Zapata Carrero was engaged in the

   “production of goods” if he was employed in producing, manufacturing, mining,

   handling, or transporting goods, or in any other manner worked on goods or any closely




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   related process or occupation directly essential to the production of goods. An

   “enterprise engaged in commerce or the production of goods for commerce” means a

   business that has employees engaged in commerce or the production of commercial

   goods for commerce and has annual gross sales of at least $500,000.

             The FLSA requires an employer to pay an employee at least one-and-one-

   half times the employee’s “regular rate” for time worked over 40 hours in a workweek.

   Work not requested but suffered or permitted is work time. Put another way, if an

   employee works more than 40 hours in one workweek, the employer must pay the

   employee the overtime rate of 1.5 times the regular rate for all time worked after the first

   40 hours. This is commonly known as time-and-a-half pay for overtime work.

             The employee's regular rate for one week is the basis for calculating any

   overtime pay due to the employee. The “regular rate” for a week is determined by

   dividing the total wages paid for the week by 40. the total number of hours the

   employee’s weekly salary were intended to compensate. To calculate how much

   overtime pay was owed to an employee for a certain week, subtract 40 from the total

   number of hours the employee worked and multiply the difference by the overtime rate.

   Defendant Hanin Prieto failed to pay Plaintiff Arwin Nicolas Zapata Carrero the required

   overtime pay if he paid him less than that amount.

             The amount of damages owed, if any, is the difference between the amount

   the employee Plaintiff Arwin Nicolas Zapata Carrero should have been paid and the

   amount he was actually paid.       Plaintiff Arwin Nicolas Zapata Carrero is entitled to

   recover lost wages from the date of your verdict back to no more than two years before

   he filed this lawsuit [2/16/2017]—unless you find that the employer either knew or




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   showed reckless disregard for whether the FLSA prohibited its conduct. If you find that

   the employer Defendant Hanin Prieto was Plaintiff’s “employer” and knew or showed

   reckless disregard for whether the FLSA prohibited its conduct, then Plaintiff Arwin

   Nicolas Zapata Carrero is entitled to recover lost wages from date of your verdict back

   to no more than three years before he filed this lawsuit.

          Inadequate Records: The law requires an employer to keep records of how

   many hours its employees work and the amount they are paid. In this case, Plaintiff

   Arwin Nicolas Zapata Carrero claims that Defendant Hanin Prieto failed to keep and

   maintain adequate records of his hours and pay. In this case, Plaintiff Nicolas Zapata

   Carrero claims that Defendant Hanin Prieto was his “employer” and, therefore, was

   required to keep records of his work and the amount he was paid, but failed to do so.

   Plaintiff Arwin Nicolas Zapata Carrero also claims that Defendant Hanin Prieto’s failure

   to keep and maintain adequate records has made it difficult for him to prove the exact

   amount of his claim.

          If you find that Defendant Hanin Prieto was Plaintiff’s “employer” and failed to

   keep adequate time and pay records for Plaintiff Arwin Nicolas Zapata Carrero and that

   Plaintiff Arwin Nicolas Zapata Carrero performed work for which he should have been

   paid, Arwin Nicolas Zapata Carrero may recover a reasonable estimation of the amount

   of his damages. But to recover this amount, Arwin Nicolas Zapata Carrero must prove

   by a preponderance of the evidence a reasonable estimation of the amount and extent

   of the work for which he seeks pay.




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         Authority:   4.14, 11th Circuit Pattern Jury Instructions (Civil) 2019 as modified

   by Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 687, 66 S. Ct. 1187, 90 L. Ed.

   1515 (1946).

                  GIVEN AS REQUESTED         _________________________
                  GIVEN MODIFIED             _________________________
                  REFUSED                    _________________________
                  WITHDRAWN                  _________________________




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                   DISPUTED PROPOSED JURY INSTRUCTION NO. 19

                             RECORD KEEPING OBLIGATION

         In determining whether Plaintiff is owed overtime wage compensation, keep in

   mind that the law requires employers to keep records of the number of hours worked by

   its employees subject to this Act for employees who are not exempt.

          Authority: 29 U.S.C. §211(c); 29 C.F.R. §516.2; Gaylord v. Miami-Dade County,
   78 F.Supp.2d 1320 (S.D. Fla. 1999); Reich v. Dep't of Conservation & Natural Res.,
   State of Ala., 28 F.3d 1076, 1081 (11th Cir. 1994); Anderson v. Mt. Clemens Pottery
   Co., 328 U.S. 680, 686-87 (1946).

         [Defendant Hanin Prieto disputes this instruction as redundant and cumulative of

   the “Inadequate Records” instruction set forth above.]

                   GIVEN AS REQUESTED          _________________________
                   GIVEN MODIFIED              _________________________
                   REFUSED                     _________________________
                   WITHDRAWN                   _________________________




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                       DISPUTED PROPOSED JURY INSTRUCTION NO. 20

          Several employers may be liable for an employee’s overtime wages under the

   Fair Labor Standards Act.

          Authority: Dole v. Elliot Travel & Tours, Inc., 942 F.2d 962 (6th Cir. 1991).

          [Defendant disputes this proposed jury instruction as redundant and cumulative

   of the 11th Circuit Pattern Jury Instruction 4.25 for “Joint Employers” set forth above,

   which sets forth the specific criteria the jury must consider in determining whether

   Defendant Hanin Prieto was a “joint employer” of Plaintiff.]

                   GIVEN AS REQUESTED           _________________________
                   GIVEN MODIFIED               _________________________
                   REFUSED                      _________________________
                   WITHDRAWN                    _________________________




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                 UNDISPUTED PROPOSED JURY INSTRUCTION NO. 21

                                        Working Time

         Under the law, the test for whether an employee’s time constitutes working time

   is whether the time is spent predominantly for the employer’s benefit or for the

   employee’s. This test requires consideration of the agreement between the parties, the

   nature and extent of the restrictions, the relationship between the services rendered and

   the on call time, and all surrounding circumstances.

          Authority: IBP, Inc. v. Alvarez, 546 U.S. 21, 25, 126 S.Ct. 514, 163 L.Ed.2d 288
   (2005); Armour & Co. v. Wantock, 323 U.S. 126, 133, 65 S. Ct. 165, 168, 89 L. Ed. 118
   (1944); Skidmore v. Swift & Co., 323 U.S. 134, 137, 65 S. Ct. 161, 163, 89 L. Ed. 124
   (1944); and, Gilligan v. City of Emporia, Kansas, 986 F.2d 410, 412 (10th Cir. 1993); 29
   C.F.R. 553.2221 (d); and, Gilligan v. City of Emporia, Kansas, 986 F.2d 410, 412 (10th
   Cir. 1993). Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 692, 90 L.Ed 1515, 66
   S.Ct. 1187 (1946); Lindow v. USA, 738 F.2d 1057 (9th Cir. 1983).


                 GIVEN AS REQUESTED            _________________________
                 GIVEN MODIFIED                _________________________
                 REFUSED                       _________________________
                 WITHDRAWN                     _________________________




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                 UNDISPUTED PROPOSED JURY INSTRUCTION NO. 22

                                 “Employer Knowledge”

         An employer may be considered to have knowledge of an employee’s overtime if

   using reasonable diligence, the employer would have found out the employee worked

   overtime, even if the employer has a policy against working overtime. If a reasonable

   inference could be drawn that supports that the employee worked overtime, from the

   knowledge of the employer, then the employer may be charged with having knowledge

   that the employee worked overtime.

         Authority:   Reich v. Dept. of Conservation and Natural Res., State of Ala., 28
   F.3d 1076 (11 Cir. 1994), People ex. rel. Price v. Sheffield Farms-Slawson-Decker Co,
                th

   121 N.E. 474 (N.Y. 1918), Frew v. Tolt Techs. Serv. Grp., LLC, No. 6:09-CV-49-ORL-
   19GJK, 2010 WL 557940 (M.D. Fla. Feb. 11, 2010).

                  GIVEN AS REQUESTED __________________
                  GIVEN AS MODIFIED ____________________
                  REFUSED _____________________________
                  WITHDRAWN __________________________




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                    DISPUTED PROPOSED JURY INSTRUCTION NO. 23

                                     Permitted To Work

           Permitting an employee to engage in an activity is considered “work” under the

   FLSA.

           [Defendant does not object to the substance of this instruction, but rather

   believes it is confusing as a standalone instruction.    Defendant has thus proposed

   incorporating this instruction in the general FLSA instruction above via the following

   language: “Work not requested but suffered or permitted is work time.]


           Authorities: 29 U.S.C. 203 (e)(1).

                     GIVEN AS REQUESTED              _____________________________
                     GIVEN AS MODIFIED               _____________________________
                     REFUSED                         _____________________________
                     WITHDRAWN                       _____________________________




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                      DISPUTED PROPOSED JURY INSTRUCTION NO. 24

                                      “Employ” Defined

         The term “employ” is defined as “to suffer or permit to work.”

         [Defendant does not object to the substance of this instruction, but believes it is

   confusing as a standalone instruction. Defendant has thus proposed incorporating this

   instruction in the general FLSA instruction above via the following language: “Work not

   requested but suffered or permitted is work time.]


         Authority:     29 U.S.C. §203(g)(1); Anglin v. Maxim Healthcare Servs., 2009

   U.S. Dist. LEXIS 70155 (M.D. Fla. July 22, 2009).



                GIVEN AS REQUESTED                 _____________________________
                GIVEN AS MODIFIED                  _____________________________
                REFUSED                            _____________________________
                WITHDRAWN                          _____________________________




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                   PLAINTIFF’S PROPOSED JURY INSTRUCTION NO. 25

                               Rights to Overtime Non-Waivable

          An individual employee’s rights for overtime under the Fair Labor Standards Act

   cannot be abridged by contract or otherwise waived by the employee.

          [Defendant Hanin Prieto only disputes this instruction because he does not

   contend that Plaintiff Arwin Nicolas Zapata Carrero waived or abridged by contract his

   rights under the FLSA. This proposed instruction thus serves no purpose, other than to

   potentially confuse the jury.]

          Authority: Barrentine v. Arkansas-Best Freight Sys., Inc., 450 U.S. 728 (U.S.

   1981) Baker et.al. v. Barnard Construction Co. et.al., 146 F.3d 1214 (10th Cir. 1998)

                   GIVEN AS REQUESTED_________________________

                   GIVEN MODIFIED           _________________________

                   REFUSED                  _________________________
                   WITHDRAWN                _________________________




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                       DISPUTED PROPOSED JURY INSTRUCTION NO. 26

                              “COMPENSABLE TIME” INCLUSIVE

          “Compensable time” includes far more than the time that the employee spends

   engaged in active labor.

          [Defendant objects to this proposed instruction, because it is infinitely broad and

   thus fails to provide any sort of meaningful “instruction” to the jury about what time is or

   is not compensable.].

          Authority:     Armour & Co. v. Wantock, 323 U.S. 126 (1944) and Skidmore v.

   Swift & Co., 323 U.S. 134 (1944)


                   GIVEN AS REQUESTED_________________________
                   GIVEN MODIFIED    _________________________
                   REFUSED           _________________________
                   WITHDRAWN         _________________________




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                  UNDISPUTED PROPOSED JURY INSTRUCTION NO. 27

                                          Willfulness

         A willful violation means a violation in circumstances where the employer knew

   that its conduct was prohibited by the Act or showed reckless disregard of the

   requirements of the Act. All of the facts and circumstances surrounding the violation are

   taken into account in determining whether a violation was willful.

         Authority:    29 CFR § 551.104

                  GIVEN AS REQUESTED_________________________
                  GIVEN MODIFIED    _________________________
                  REFUSED           _________________________
                  WITHDRAWN         _________________________




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                    UNDISPUTED PROPOSED JURY INSTRUCTION NO. 28

                    Election of Foreperson Explanation of Verdict Form[s]

          When you get to the jury room, choose one of your members to act as

   foreperson. The foreperson will direct your deliberations and speak for you in court.

          A verdict form has been prepared for your convenience.

                                         [Explain verdict]

          Take the verdict form with you to the jury room. When you’ve all agreed on the

   verdict, your foreperson must fill in the form, sign it and date it. Then you’ll return it to

   the courtroom.

          If you wish to communicate with me at any time, please write down your

   message or question and give it to the court security officer. The court security officer

   will bring it to me and I’ll respond as promptly as possible – either in writing or by talking

   to you in the courtroom. Please understand that I may have to talk to the lawyers and

   the parties before I respond to your question or message, so you should be patient as

   you await my response. But I caution you not to tell me how many jurors have voted one

   way or the other at that time. That type of information should remain in the jury room

   and not be shared with anyone, including me, in your note or question.

          Authority: 3.9, Eleventh Circuit Pattern Jury Instructions 2019.

                    GIVEN AS REQUESTED_____________________

                    GIVEN AS MODIFIED         _____________________

                    REFUSED                   _____________________

                    WITHDRAWN                 _____________________




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 17-20608-CIV-JAL

   ARWIN NICOLAS ZAPATA CARRERO      )
   and all others similarly situated under 29
                                     )
   U.S.C. 216(b),                    )
                                     )
                 Plaintiffs,         )
        vs.                          )
                                     )
   SANABI INVESTMENTS LLC d/b/a      )
   OSCAR’S MOVING & STORAGE,         )
   SAADY BIJANI a/k/a SANDY BIJANI,  )
   HANIN PRIETO,                     )
                                     )
                Defendants.          )
   __________________________________)

                              PLAINTIFF’S JURY VERDICT FORM

           Do you find from a preponderance of the evidence:

                                      OVERTIME WAGES

     1. That Defendant Hanin Prieto, employed Plaintiff Arwin Nicolas Zapata Carrero as

        defined in the jury instructions?

                       Yes _            No

        If your answer is yes continue to # 2. If your answer is no sign the verdict form.

     2. That Arwin Nicolas Zapata Carrero is owed overtime wages for which he was not

        compensated by the Defendant Hanin Prieto?

                        Yes            No

        If your answer is yes continue to 3. If your answer is no sign the verdict form

                            DAMAGES AS TO OVERTIME WAGES

     3. That Plaintiff Arwin Nicolas Zapata Carrero should be awarded $



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        as the Plaintiff’s overtime wages.

     4. That Defendant Hanin Prieto willfully or recklessly failed to pay Plaintiff’s overtime

        wages in violation of the law?

                 Yes           No



     SO SAY WE ALL.



                                                                                      _
                                              JURY FOREPERSON



                                             ________________________________
                                             DATE




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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 17-20608-CIV-JAL

   ARWIN NICOLAS ZAPATA CARRERO      )
   and all others similarly situated under 29
                                     )
   U.S.C. 216(b),                    )
                                     )
                 Plaintiffs,         )
        vs.                          )
                                     )
   SANABI INVESTMENTS LLC d/b/a      )
   OSCAR’S MOVING & STORAGE,         )
   SAADY BIJANI a/k/a SANDY BIJANI,  )
   HANIN PRIETO,                     )
                                     )
                Defendants.          )
   __________________________________)

                     DEFENDANT HANIN PRIETO’S JURY VERDICT FORM

              Do you find from a preponderance of the evidence:

   1.      That Plaintiff Arwin Nicolas Zapata Carrero was an employee of Defendant Hanin

           Prieto and was engaged in commerce or in the production of goods for

           commerce/employed by an enterprise engaged in commerce of in the production

           of commercial goods?

                            Yes                 No

           If your answer is “No,” this ends your deliberations, and your foreperson should

           sign and date the last page of this verdict form. If you answer is “Yes,” go to the

           next question.

        2. That Defendant Hanin Prieto failed to pay Plaintiff Arwin Nicolas Zapata Carrero

           the overtime pay required by law?

                            Yes                 No




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        If your answer is “No,” this ends your deliberations, and your foreperson should

        sign and date the last page of this verdict form. If your answer is “Yes,” go to the

        next question.

     3. That Defendant Hanin Prieto knew or showed reckless disregard for whether the

        FLSA prohibited his conduct?

                         Yes __________      No __________

     4. That Plaintiff Arwin Nicolas Zapata Carrero should be awarded damages?

                         Yes __________      No __________

                         If your answer is “Yes,” in what amount? $_________________

     SO SAY WE ALL.



                                                                                     _
                                             JURY FOREPERSON



                                             ________________________________
                                             DATE


   Authority: 11th Circuit Pattern Jury Instructions (2019) at 4.14, p. 4-5.




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